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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO




       In re: Shale Oil Antitrust Litigation

       This Document Relates to:                          No. 1:24-md-03119-MLG-LF

       ALL ACTIONS



 DECLARATION OF KARIN B. SWOPE IN SUPPORT OF PLAINTIFFS’ RESPONSE
         TO KANSAS’S MOTION FOR LIMITED INTERVENTION
       I, Karin Swope, pursuant to 28 U.S.C. §1746, declare that the following is true and correct

to the best of my knowledge and belief.

        1.    I make this declaration in support of Plaintiffs’ Response to the State of Kansas’s

Motion for Limited Intervention. I have personal knowledge of the matters stated herein and, if

called upon, I could, and would, competently testify thereto.

        2.    Attached as Exhibit 1 is a true and correct copy of email correspondence from

Assistant Attorney General Nicholas Smith sent to co-lead counsel on April 8, 2025.

        3.    Attached as Exhibit 2 is a true and correct copy of a letter from co-lead counsel

Michael Dell’ Angelo sent to Attorney General Kobach on April 28, 2025.

        4.    Attached as Exhibit 3 is a true and correct copy of a letter from Assistant Attorney

General Nicholas Smith sent to co-lead counsel on May 6, 2025.

       I declare under penalty of perjury that the foregoing is true and correct.



Executed on this 6th day of May, 2025, in Seattle, Washington.

                                               /s/ Karin B. Swope
                                               Karin Swope



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                       Exhibit 1
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Kansas’s intervention is limited to the political subdivision plaintiffs to challenge their jurisdiction and
legal authority to bring their class allegations. We are intervening as of right to defend its sovereignty
from usurpation from the political subdivision plaintiffs. To be clear, Kansas’s position is that the
political subdivisions may litigate on behalf of themselves, but our position is that the class allegations
threaten Kansas’s sovereignty.



Our filing here will be substantially similar to our posture and arguments in Rodriguez, et al. v. Exxon
Mobil Corp., et al., No. 4:24-cv-00803-SRB (W.D. Mo.). For your convenience (and in one document), I
have attached our motion for limited intervention and proposed motion to dismiss, each with their briefs
in support, for the Rodriguez case.



Finally, we are amenable to extending our deadline to advise us of your client’s position to tomorrow
(April 8) at 1:00 PM CT. We will notify the other parties of the same and provide them with the same
information we have provided you.



Warmest regards,

Nicholas

______________________________________

Nicholas C. Smith | Assistant Attorney General

Office of Attorney General Kris W. Kobach

Public Protection Division

120 SW 10th Avenue, 2nd Floor | Topeka, KS 66612

Direct: (785) 296-4350 | Fax: (785) 291-3699



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any protection, privilege, or immunity. Please note also that the Kansas Open Records Act provides that public records, including correspondence to me via
e-mail, may be subject to disclosure unless otherwise protected by law.




From: Karin B. Swope <KSwope@cpmlegal.com>
Sent: Monday, April 7, 2025 3:16 PM
                                                                                3
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To: Smith, Nicholas <Nicholas.Smith@ag.ks.gov>; Adam Zapala <AZapala@cpmlegal.com>; Ellen J.
Wen <EWen@cpmlegal.com>; Jacob M. Alhadeff <JAlhadeff@cpmlegal.com>; 'sgoodger@midwest-
law.com' <sgoodger@midwest-law.com>; Thomas E. Loeser <TLoeser@cpmlegal.com>;
'chris@doddnm.com' <chris@doddnm.com>
Cc: Jack, Melanie <Melanie.Jack@ag.ks.gov>; Steinhilber, Adam <Adam.Steinhilber@ag.ks.gov>;
mdellangelo@bm.net; Patrick Coughlin <pcoughlin@scott-scott.com>
Subject: Re: Forthcoming Limited Intervention by State of Kansas - In Re: Shale Oil Antitrust Litigation,
Case No. 1:24-md-03119-MLG-LF (D.N.M.) - Pls. City of San Jose & County of San Mateo




CAUTION: This email originated from outside of the Office of The Attorney General of Kansas
organization. Do not click links or open attachments unless you recognize the sender and know the
content is safe.




Hi Nicholas,



We received your email this morning. We do not understand your reason for intervening, and therefore
are not able to state whether the motion is opposed by 3:30 pm CT today. We would like to meet and
confer so that we can in good faith comply with D.N.M.LR-Civ 7.1(a). We are available tomorrow, April 8,
flexible except not between 11am-12 pm PT/ 1-2 pm CT. Additionally, could you please send us a copy
of your motion to intervene prior to our meet and confer?



Best, Karin.




From: Smith, Nicholas <Nicholas.Smith@ag.ks.gov>
Sent: Saturday, April 5, 2025 12:15 PM
To: Adam Zapala <AZapala@cpmlegal.com>; Ellen J. Wen <EWen@cpmlegal.com>; Jacob M. Alhadeff
<JAlhadeff@cpmlegal.com>; Joseph Cotchett <JCotchett@cpmlegal.com>; Karin B. Swope
<KSwope@cpmlegal.com>; 'sgoodger@midwest-law.com' <sgoodger@midwest-law.com>; Thomas E.
Loeser <TLoeser@cpmlegal.com>; Vasti Montiel <VMontiel@cpmlegal.com>; 'chris@doddnm.com'
<chris@doddnm.com>; 'mtt@marytorreslaw.com' <mtt@marytorreslaw.com>
Cc: Smith, Nicholas <Nicholas.Smith@ag.ks.gov>; Jack, Melanie <Melanie.Jack@ag.ks.gov>;
Steinhilber, Adam <Adam.Steinhilber@ag.ks.gov>
                                                     4
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any protection, privilege, or immunity. Please note also that the Kansas Open Records Act provides that public records, including correspondence to me via
e-mail, may be subject to disclosure unless otherwise protected by law.




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                                                    MICHAEL DELL’ANGELO
                                         EXECUTIVE SHAREHOLDER & GENERAL COUNSEL
                                        d 215.875.3080 m 610.608.8766 mdellangelo@bm.net


April 28, 2025

Via Electronic Mail
Office of the Attorney General of Kansas
The Honorable Kris W. Kobach
120 SW 10th Ave, 2nd Floor
Topeka, KS 66612-1597

      Re:    IN RE: SHALE OIL ANTITRUST LITIGATION
             Case No. 1:24-md-03119-MLG-LF (D.N.M.)

Dear Attorney General Kobach:

I write in my capacity as interim co-lead counsel on behalf of Plaintiffs in the above-
captioned litigation, see Dkt. 83, regarding your pending Motion for Limited Intervention,
Dkt. 153, filed April 8, 2025 (“Motion”).

The two class definitions in the Consolidated Class Action Complaint (CCAC), Dkt. 86,
filed January 10, 2025, at issue in Kansas’s Motion are:

      1.     A Class of end-payors seeking injunctive relief under Federal Rules of Civil
             Procedure 23(a), (b)(1), and (b)(2), defined as:

             All persons, governmental and non-governmental entity end purchasers of
             crude oil derivative fuel products in the United States from January 1, 2021
             and until present.

             CCAC ¶248.

      2.     A Class of end-payors seeking damages and injunctive relief under Federal
             Rules of Civil Procedure 23(a) and 23(b)(3) and various state laws, defined
             as:

             All persons, governmental and non-governmental entity end purchasers of
             crude oil derivative fuel products in Arkansas, Alabama, Arizona, California,
             Colorado, Connecticut, the District of Columbia, Florida, Hawaii, Illinois,
             Iowa, Kansas, Maine, Maryland, Massachusetts, Michigan, Minnesota,
             Mississippi, Missouri, Montana, Nebraska, Nevada, New Hampshire, New
             Jersey, New Mexico, New York, North Carolina, North Dakota, Oregon,

                                                     1818 MARKET STREET, SUITE 3600
                                                     PHILADELPHIA, PA 19103
                                                     215.875.3000 BERGERMONTAGUE.COM
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Kansas Attorney General Kris Kobach
April 28, 2025
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              Pennsylvania, Rhode Island, South Carolina, South Dakota, Tennessee,
              Utah, Vermont, West Virginia, and/or Wisconsin from January 1, 2021 and
              present.

              CCAC ¶249.

From these definitions, Kansas in its Motion argues Plaintiffs seek to “recover losses on
behalf of themselves and the general public, all States, all agencies and all political
subdivisions of the States.” Motion at 5.

As will be clear from Plaintiffs’ forthcoming opposition to the Motion, Plaintiffs believe
concerns regarding the specific contours of Plaintiffs’ proposed class definition(s) are
appropriately addressed at class certification, where they can be considered by the Court
under the framework of Fed. R. Civ. P. 23. Notwithstanding this, I write to confirm that
Plaintiffs have never intended to seek certification of any class in this case that includes
State or federal entities. Further, Plaintiffs are willing to represent to you that we will not
do so in any class certification motion in this case.

Please consider this in deciding whether to withdraw your motion, rather than filing a reply
brief on June 3, 2025.

                                           Sincerely,



                                           Michael Dell’Angelo
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                       Exhibit 3
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                                            May 6, 2025

Michael Dell’Angelo                                    Via Electronic Mail only
Berger Montague P.C.                                   mdellangelo@bm.net
1818 Market Street, Suite 3600
Philadelphia, Pennsylvania 19103

       RE:     In Re: Shale Oil Antitrust Litigation, Case No. 1:24-md-03119-MLG-LF
               (D.N.M.)

Dear Mr. Dell’Angelo:

        We have reviewed your April 28 letter in which you state the Plaintiffs “never intended
to seek certification of any class in this case that includes State or federal entities” and request
the State of Kansas withdraw its motion for limited intervention. Additionally, you provide
assurances that Kansas’s concerns will be resolved at the class certification stage (i.e., by
excluding State and federal entities).

        The Plaintiffs are responsible for what they plead. Newtok Vill. v. Patrick, 21 F.4th 608,
616 (9th Cir. 2021) (“A plaintiff is the master of his complaint and responsible for articulating
cognizable claims.”). Despite your assurances otherwise, the pleadings do not exclude State and
federal entities. Absent intervention, Kansas has no other choice to protect its interests, claims,
and sovereignty—including the legal interests of its political subdivisions. Furthermore, your
letter does not address many of our concerns raised in our proposed motion to dismiss. Even if
Plaintiffs excluded State and federal entities from its class allegations, Kansas would still have
grave concerns about its interests in this matter. See, e.g., Doc. 153 at 10-12; Doc. 153-1 at 3-4,
36-37.

       We look forward to reviewing your opposition response.

                                               Sincerely,



                                               Nicholas Smith
                                               Assistant Attorney General
